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                   7   Attorneys for Defendant
                       APPLE INC.
                   8

                   9                             UNITED STATES DISTRICT COURT

               10                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

               11                                        OAKLAND DIVISION

               12

               13      IN RE APPLE iPHONE ANTITRUST              CASE NO. 3:11-cv-06714 YGR
                       LITIGATION                                ORDER DENYING STIPULATION
               14                                                STIPULATION AND [PROPOSED] ORDER
                                                                 EXTENDING TIME TO RESPOND TO
               15                                                PLAINTIFFS’ SECOND AMENDED
                                                                 CONSOLIDATED CLASS ACTION
               16                                                COMPLAINT

               17                                                [FILED PURSUANT TO CIVIL L.R. 6-1]

               18                                                The Honorable Yvonne Gonzalez Rogers
                                                                 Courtroom 5, 2nd Floor
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ATTORNEYS AT LAW                                                            STIP AND ORDER EXTENDING TIME TO RESPOND
 SAN FRANCISCO                                                                                CASE NO. 3:11-cv-06714 YGR
                        Case 4:11-cv-06714-YGR Document 110 Filed 08/29/13 Page 2 of 3


                   1          WHEREAS, by Court Order entered on August 15, 2013, Plaintiffs shall file their Second

                   2   Amended Consolidated Complaint on or before September 5, 2013;

                   3          WHEREAS, it is likely that Apple will move to dismiss Plaintiffs’ Second Amended

                   4   Consolidated Class Action Complaint;

                   5          WHEREAS, the Parties have agreed, pursuant to Civil Local Rule 6-2, to: (1) extend

                   6   Apple’s time within which to respond to Plaintiffs’ Second Amended Consolidated Class Action

                   7   Complaint (“SAC”); (2) to extend Plaintiffs’ time to file their Opposition; (3) to extend Apple’s

                   8   time to file its Reply in support of its Motion to Dismiss; (4) to set a hearing date (subject to the

                   9   Court’s availability) on Apple’s Motion to Dismiss; and (5) to continue the Case Management

               10      Conference, for the sake of efficiency, to the date set for argument on Apple’s Motion to

               11      Dismiss;

               12             THEREFORE, IT IS HEREBY STIPULATED AND AGREED that, subject to the

               13      Court’s approval:

               14             1.      Apple shall have until October 7, 2013 to file and serve a Motion to Dismiss

               15      Plaintiffs’ SAC;

               16             2.      Plaintiffs shall have until November 6, 2013 to file and serve an Opposition to

               17      Apple’s Motion to Dismiss;

               18             3.      Apple shall have until November 21, 2013 to file and serve a Reply in Support of

               19      its Motion to Dismiss;

               20             4.      The hearing on Apple’s Motion to Dismiss shall be set for December 17, 2013 at

               21      2:00 p.m., or such other date and time as is convenient for the Court;

               22             5.      The Case Management Conference, currently set for November 4, 2013 at 2:00

               23      p.m., shall be continued to December 17, 2013 at 2:00 p.m., or such other date and time as is

               24      convenient for the Court, to immediately follow the hearing on Apple’s Motion to Dismiss.

               25             IT IS SO STIPULATED AND AGREED.

               26             Authority for and concurrence in the filing of this stipulated request has been obtained

               27      from each of the signatories, pursuant to Civil Local Rule 5-1(i)(3).
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ATTORNEYS AT LAW                                                                       STIP AND ORDER EXTENDING TIME TO RESPOND
 SAN FRANCISCO                                                                                           CASE NO. 3:11-cv-06714 YGR
                        Case 4:11-cv-06714-YGR Document 110 Filed 08/29/13 Page 3 of 3


                   1   Dated: August 28, 2013               LATHAM & WATKINS LLP
                                                              Daniel M. Wall
                   2                                          Christopher S. Yates
                                                              Sadik Huseny
                   3

                   4                                        By       /s/ Christopher S. Yates
                                                                  Christopher S. Yates
                   5                                              Attorneys for Defendant APPLE INC.
                   6
                       Dated: August 28, 2013               WOLF HALDENSTEIN ADLER FREEMAN
                   7                                        & HERZ LLP
                                                               Rachele R. Rickert
                   8

                   9                                        By       /s/ Rachele R. Rickert
                                                                  Rachele R. Rickert
               10                                                 Attorneys for Plaintiffs Pepper et al.
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               11                                                             TES D      TC
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                               PURSUANT TO THE STIPULATION, IT IS SO ORDERED.




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               13              This Order terminates Dkt.                     D
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                                    August 29, 2013
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                       DATED:                                                                n zalez Rog
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                                                                 The Honorable  Yvon
                                                                          Judge Yvonne     Gonzalez Rogers




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                                                                    United States District Court Judge




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ATTORNEYS AT LAW                                                           STIP AND ORDER EXTENDING TIME TO RESPOND
 SAN FRANCISCO                                                                               CASE NO. 3:11-cv-06714 YGR
